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                               United States District Court
                                         for the
                               Southern District of Florida
   Jiangmen Benlida Printed Circuit         )
   Co., Ltd., Counter-Defendant,            )
                                            )
   v.                                       ) Civil Action No. 21-60125-Civ-Scola
                                            )
   Circuitronix, LLC, Counter-              )
   Plaintiff.                               )
                               Amended Final Judgment
         After the Court entered summary judgment in Circuitronix, LLC’s favor,
  against Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”), on Benlida’s
  claims against Circuitronix (ECF No. 221), the court held a jury trial as to
  Circuitronix’s remaining counterclaim against Benlida. After a six-day trial, the
  jury rendered its verdict in this case, on October 24, 2023, in favor of
  Circuitronix, as Counter-Plaintiff, in the amount of $7,585,847, against
  Benlida, as Counter-Defendant. (ECF No. 273.) Subsequent to the Court’s
  entering a final judgment on that verdict (ECF No. 294), and while
  Circuitronix’s motion for judgment as a matter of law was pending review,
  Circuitronix moved to amend the judgment to include prejudgment interest
  and to set the post-judgment interest rate (ECF No. 300). In granting that
  motion to amend, the Court agreed to add $1,621,249.45 in prejudgment
  interest to the judgment and to set post-judgment interest at 5.05%.

       Accordingly, as required by Federal Rule of Civil Procedure 58, the Court
  now enters an amended judgment as follows:

        1. Judgment is entered in favor of Circuitronix, LLC, and against Jiangmen
           Benlida Printed Circuit Co., Ltd., as to Benlida’s claims against
           Circuitronix.
        2. Judgment is entered in favor of Circuitronix, LLC, and against Jiangmen
           Benlida Printed Circuit Co., Ltd., as to Circuitronix’s breach-of-contract
           counterclaim in the amount of $9,207,096.45, which includes
           prejudgment interest, for which sum let execution issue.
        Post-judgment interest shall accrue from December 1, 2023, at the rate
  of 5.05%, computed daily and compounded annually. This case is to remain
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  closed.
        Done and ordered in Miami, Florida, on April 22, 2024.

                                           ___________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
